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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                         ASHLAND, LONDON AND LEXINGTON DIVISIONS

IN RE:                                                                          CHAPTER 11

LICKING RIVER MINING, LLC, et al.                                               CASE NO. 14-10201

           DEBTORS IN POSSESSION                                                JOINTLY ADMINISTERED


       FINAL ORDER AUTHORIZING THE EMPLOYMENT OF GLASSRATNER
     ADVISORY & CAPITAL GROUP AS FINANCIAL ADVISOR FOR THE DEBTORS


           Upon the Motions for Interim and Final Approval of Debtors’ Applications to Employ

GlassRatner Advisory & Capital Group (“GlassRatner”) as their Financial Advisor as of the

Relief Date [Doc 301 and Doc 222] (the “Motions and Applications”) filed by Licking River

Mining, LLC, Licking River Resources, Inc., S. M. & J., Inc., Fox Knob Coal Co., Inc., J.A.D.

Coal Company, Inc., and U.S. Coal Corporation, as debtors and debtors in possession

(collectively, the “Debtors”); and upon the Affidavits and Declarations of Evan Blum of

GlassRatner in support of the Motions and Applications; the Court having entered Interim Orders

Authorizing the Employment of GlassRatner as Financial Advisor for the Debtors [Doc 1231]

and for U.S. Coal Corporation [Doc 692]; the Court having heard the arguments and

representations of counsel at the interim and final hearings to consider the Motions and

Applications; it appearing that adequate notice of said Motions and Applications was given; and

the Court being satisfied that: (1) GlassRatner does not hold or represent an interest adverse to

the Debtors, their creditors, or their Estates with respect to the matters upon which it may advise

the Debtors, (2) that any connection GlassRatner has with any creditors or parties in interest of


1
    These are the ECF numbers for the lead case of Licking River Mining, LLC.
2
    These are the ECF numbers for the case of U.S. Coal Corporation.
Case
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the Debtors, their creditors, or their Estates has been adequately disclosed to permit

GlassRatner’s employment during the pendency of these cases, and (3) that GlassRatner’s

employment is necessary and is in the best interests of the Estates,

        IT IS HEREBY ORDERED as follows:

        1.      The Motions and Applications are APPROVED.

        2.      Pursuant to 11 U.S.C. §§ 327(a) and 328(a), the Debtors are hereby authorized to

employ and retain GlassRatner under a general retainer, to render necessary financial services,

from the respective dates that orders for relief were entered in each of the Debtors’ bankruptcy

cases through the pendency of these Chapter 11 cases.

        3.      GlassRatner is hereby authorized to hold the Retainer3 in its escrow account

pending further orders of this Court.

        4.      This is a final order.


Tendered by:

DELCOTTO LAW GROUP PLLC

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and



3
 All capitalized terms not otherwise defined herein shall have the meanings given to them in the Motions and
Applications.


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        NIXON PEABODY LLP

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        COUNSEL FOR DEBTORS AND
        DEBTORS IN POSSESSION
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 __________________________________________________________________________________________
 The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
 electronically entered by the Clerk in the official record of this case.



                                                     Signed By:
                                                     Tracey N. Wise
                                                     Bankruptcy Judge
                                                     Dated: Friday, July 11, 2014
                                                     (tnw)
